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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DISTRICT at COVINGTON
                                 CASE NO. 2:10-cv-0051-DLB-JGW


  RICHARD WESLEY                                                              PLAINTIFF

  v.                               ELECTRONICALLY FILED

  ALISON CAMPBELL, ET. AL.                                                    DEFENDANTS


          ORDER PERMITTING PLAINTIFF TO FILE AMENDED COMPLAINT

         Upon motion of the Plaintiff to amend his Complaint pursuant to FRCP 15(a), the matter

  having been fully briefed, and the Court having been in all ways sufficiently advised, Plaintiff’s

  motion is GRANTED and he is permitted to amend his Complaint as per his motion. Plaintiff

  shall file the corrected amended Complaint within 7 days of the date of the entry of this Order.

  SO ORDERED THIS ________ DAY OF ____________________, 2010.



                                                              __________________________
                                                              Hon. David L. Bunning
                                                              U.S. District Judge
  Cc: all counsel of record
